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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 19-CV-14394-ROSENBERG/MAYNARD

  GEORGE FRIEDEL & KATHLEEN
  FRIEDEL,

          Plaintiffs,

  v.

  SUN COMMUNITIES, INC. & PARK
  PLACE COMMUNITY, LLC,

        Defendants.
  ________________________________/

                        ORDER REQUIRING CERTIFICATION OF
                  GOOD FAITH CONFERRAL AND SUPPLEMENTAL FILING

          Presiding U.S. District Judge Robin Rosenberg has determined that Defendants are entitled

  to the attorneys’ fees and costs they spent defending this case, and she has referred the matter to

  me to determine the amount Defendants may recover. DE 88, DE 94. In support of their requested

  amount, Defendants have filed a Second Renewed Motion for Attorneys’ Fees and Costs

  (“Motion”). DE 92. Plaintiffs have filed a response in opposition. DE 96. 1 No reply has been

  timely filed.

          Having scrupulously reviewed the Motion and the record, I find that the Motion contains

  material deficiencies which preclude me from properly assessing the reasonable amount of fees

  and costs to which Defendants are entitled. These deficiencies seriously undermine my confidence


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    Plaintiff George Friedel submitted a one-page letter, dated May 5, 2022, which asks the Court to consider his
  “situation and feelings as to the fairness of any decision” to assess fees. DE 97. This uninvited letter runs
  contrary to Local Rule 7.7, which prohibits represented parties such as Mr. Friedel from submitting letters or
  arguments directly to the Court unless invited or directed by the presiding Judge. S.D. Fla. Local Rule 7.7.
  Thus, I have limited my review to the arguments made by Mr. Friedel’s counsel in the response submitted on
  behalf of both Plaintiffs.
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  in the accuracy of Defendants’ claimed amounts. To streamline matters, I will require the parties

  to engage in a renewed good faith conferral on the matter of attorneys’ fees and costs. If, following

  such conferral, the parties remain unable to resolve this matter by agreement, then Defendants shall

  be authorized to file supplemental material to address the deficiencies in the Motion. Below I set

  forth the pertinent background followed by my reasons for issuing this Order.

                                            BACKGROUND

         A.      Friedel I and Friedel II

         This is Plaintiffs’ second case about their dog Maggie. In the first case, Friedel v. Park

  Place Cmty., LLC (“Friedel I”), 747 F. App’x 775 (11th Cir. 2018), Plaintiffs sued Park Place

  Community, LLC (“Park Place”), the mobile home park where they lived with Maggie, for

  disability discrimination in violation of the Fair Housing Act (“FHA”). Friedel I was tried before

  a jury. The jury found that Maggie was an aggressive and dangerous animal that threatened the

  safety of the Plaintiffs’ neighbors and thus concluded that Park Place’s actions were lawful.

  Plaintiffs moved for new trial, which the Court denied. Plaintiffs appealed and the Eleventh Circuit

  affirmed in a decision dated August 29, 2018. Id.

         After the first affirmance, on October 16, 2019, the same two Plaintiffs filed this second

  case. Friedel v. Sun Communities, Inc. et al. (“Friedel II”), 2021 WL 3732992 (11th Cir. Aug. 24,

  2021). Friedel II still concerns Maggie, the same Plaintiffs represented by the same counsel, and

  the same eviction. The case raised claims under the FHA and Florida law. Friedel II’s key

  difference is that Plaintiff’s allegations were filed against a new Defendant— Park Place’s parent

  company, Sun Communities, Inc. (“Sun Communities”). Id. In Friedel II, Plaintiffs were ordered

  to join Defendant Park Place as a necessary party, after which the case was dismissed with

  prejudice based on a “finding that the most plausible explanation for the Plaintiffs’ threatened


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  eviction was the fact that, one day prior to the notice of eviction, the Defendants prevailed in a trial

  by jury—Friedel I” and “Plaintiffs’ core allegation—that their threatened eviction was caused by

  the Defendants’ desire to engage in disability discrimination—was an implausible allegation bereft

  of supporting, non-conclusory factual allegations.” DE 88 at 2-3. Plaintiffs appealed and the

  Eleventh Circuit affirmed in a decision dated August 24, 2021. Friedel II at *1.

         B.      Attorneys’ Fees and Costs Litigation

         On May 29, 2020, following the Order dismissing with prejudice Friedel II, Defendants

  filed their first motion for attorneys’ fees and costs. DE 41. This first motion sought to recover

  $55,000.00 as “a fair estimate of Defendants’ attorneys’ fees” plus $2,500.00 for a rebuttal canine

  expert witness. Id. at 8. On June 19, 2020, Defendants withdrew this first motion without

  prejudice to allow the parties to confer on the matter of fees and costs. DE 46.

         On July 16, 2020, noting the parties’ disagreement on both entitlement and amount of fees,

  Defendants filed a renewed motion for attorneys’ fees and costs. DE 48. The renewed motion

  sought (1) $72,780.10 in attorneys’ fees—comprised of fees for defense work performed by two

  different law firms; that is, $28,746.10 expended by Atlas Law, PLLC and (“Atlas Law”) plus

  $44,034.00 expended by Jaffe Raitt Heuer & Weiss, P.C. (“Jaffe Law”); (2) $29.70 in unspecified

  “costs,” and (3) $2,500.00 for a rebuttal canine expert witness. Id. at 7, 9. On July 21, 2020, Judge

  Rosenberg terminated this renewed motion with leave for it to be reinstated following the then

  pending appeal. DE 50.

         On October 22, 2021, following the Eleventh Circuit’s order affirming Judge Rosenberg’s

  Order dismissing Friedel II with prejudice, Defendants moved to reinstate their renewed motion

  for attorneys’ fees and costs. DE 53. The motion to reinstate was granted the same day. DE 54.




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          On March 21, 2022, after the reinstated motion was fully briefed, Judge Rosenberg held an

  evidentiary hearing which lasted four hours. DE 82. On March 25, 2022, Judge Rosenberg issued

  an order granting Defendants’ motion for attorney’s fees. DE 88. 2 Judge Rosenberg found that

  Defendants are entitled to a reasonable fee award under both state and federal law. DE 88 at 5, 8

  (“Chapter 723 [of the Florida Statutes] thus requires an award of fees in favor of the [prevailing

  party] Defendants as to Count IV” for breach of contract; in addition, under 42 U.S.C. § 3613(c)(2),

  “weighing all case-specific factors, the Court concludes that the Plaintiffs’ case was frivolous and

  without factual or legal foundation. The Defendants are entitled to a reasonable attorney’s fee for

  the Plaintiffs’ discrimination counts, Counts I, II, and III.”).

          Importantly, Judge Rosenberg found Defendants entitled to attorney’s fees for each alleged

  count but expressly noted that the award is not limited to their defense to any specific count based

  on the “intertwined” nature of Plaintiffs’ claims arising “from the same nucleus of operative facts.”

  Id. at 9 (“The Court’s award of attorney’s fees is therefore not limited to the Defendants’ fees in

  connection with any specific count or to any specific range of time, and instead applies to the

  Defendants’ fees in connection with the entirety of their defense of this case.”). Judge Rosenberg

  ended her Order by requiring Defendants to “file a motion to determine the amount of a fee award”

  within 20 days. Id. at 10. Defendants timely complied by filing the instant Motion. DE 92.

          Defendants now seek an award of attorneys’ fees and costs totaling $112,744.08. DE 92

  at 5. This amount consists of three categories: (1) $109,575.00 in fees for work performed by five

  attorneys and two paralegals ($40,595.00 in Atlas Law fees plus $68,980.00 in Jaffe Law fees);

  (2) $2,500.00 for a rebuttal canine expert witness; and (3) $669.08 in costs. In support, Defendants



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   This Order also denied Defendants’ separate motion for sanctions against Plaintiff’s counsel for alleged
  vexatious multiplication of proceedings under 28 U.S.C. § 1927. In declining to award sanctions, Judge
  Rosenberg expressly found no evidence that Plaintiffs’ counsel acted in bad faith. DE 88 at 9-10.

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  attached to their Second Renewed Motion two sets of billing invoices—one from each law firm—

  together with a one page “Expert Fee Schedule” for canine expert James Crosby. DE 92-1 (Atlas

  Law Client Ledger); DE 92-2 (Jaffe Law Billing Invoices); DE 92-3 (Expert Fee Schedule).

  Defendants have also filed an attorney fee affidavit by attorney James Parks of Jaffe Law with a

  general overview of qualifications and hourly rates sought by each attorney and paralegal at his

  law firm. DE 93-1.

         Plaintiffs oppose the Motion on grounds that the fee request is unverified and fails to

  comport with Local Rules, thus meriting “a zero fee award.” DE 96 at 5. Alternatively, Plaintiffs

  argue that substantial reductions should be made to the fee request based on different enumerated

  arguments. These arguments include that this Court lacks authority to award appellate fees, that

  all fees incurred by Jaffe Law should be excluded because neither attorney Parks nor any attorney

  at Jaffe Law properly appeared pro hac vice, expert witness fees are not authorized, and

  Defendants’ invoices reveal numerous block/duplicative billing and other unreasonable entries.

  Id. at 7-17. As for costs, Plaintiffs contend that Defendants did not file the requisite bill of costs

  and otherwise seek impermissible categories of costs. Id. at 17-19.

                                            DISCUSSION

         A.      Certified Good Faith Conferral

         As detailed above, the issue of post-judgment attorneys’ fees and costs has been extensively

  litigated in this successive case. Defendants have remained steady in their filing of similar motions

  in pursuit of their fees and costs, however such motions have been lacking in important details

  while the total amount sought has become progressively higher over time. This Court’s Local

  Rules require conferral with opposing counsel prior to filing most motions, including motions

  seeking fees. S.D. Fla. L.R. 7.1(a)(3). Such conferral is designed to grant the opposing party


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  notice and a fair opportunity to discuss and either narrow or resolve disputed issues prior to the

  filing of a motion seeking Court intervention. Regarding motions for attorneys’ fees and costs,

  this Court’s local rules sets out a detailed rule providing “a mechanism to assist parties in resolving

  attorneys fee and costs disputes by agreement.” S.D. Fla. L.R. 7.3(a). Among other things, Local

  Rule 7.3(a) requires that a fee motion shall: (1) provide “the identity, experience, and qualifications

  for each timekeeper for whom fees are sought; the number of hours reasonably expended by each

  such timekeeper; a description of the tasks done during those hours; and the hourly rate(s) claimed

  for each timekeeper;” (2) include invoices to support the claimed fees; and (3) be verified. S.D.

  Fla. L.R. 7.3(a)(5)-(7). As Plaintiffs correctly point out, there is persuasive authority for denying

  motions for fees and costs based solely upon a failure to strictly comply with Local 7.3’s

  requirements. See J.B. Hunt Transp., Inc. v. S & D Transp., Inc., 589 F. App’x 930, 933 (11th Cir.

  2014) (affirming denial of moving party’s motions for attorney’s fees, expenses, and costs for

  failure to comply with Local Rule 7.3, “which constituted an independently sufficient basis to

  deny” the motions); Koppelman v. Galt Ocean Manor Condo. Ass'n, Inc., No. 16-62175-Civ-

  Bloom/Valle, 2017 WL 7411184, at *2 (S.D. Fla. Dec. 21, 2017) (Judge Bloom’s Order adopting

  recommendation to deny motion for fees and costs with prejudice for failure to comply with Local

  Rule 7.3).

         Here, I disagree with Plaintiffs’ argument for outright denial of any award of fees and costs

  for failure to confer. Plaintiffs have been on full and fair notice of Defendants’ request for fees

  and costs since shortly after this case was dismissed with prejudice. The record shows signs of

  previous conferral between the parties, including when Defendants withdrew their first motion on

  the issue for the express purpose of allowing the parties to confer. However, this conferral

  predated two important developments in the case: the appellate mandate affirming the dismissal


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  of this case with prejudice and the subsequent determination on entitlement. Following a lengthy

  evidentiary hearing, Judge Rosenberg issued her comprehensive order finding that Defendants are

  entitled to an award of fees “in connection with the entirety of their defense of this case” and

  directed Defendants to file a motion regarding the amount of fees to be awarded. Defendants

  complied with this directive and Plaintiffs have had an opportunity to respond in opposition. Given

  this background, particularly the entitlement finding, I find inappropriate a summary denial of fees

  and costs for failure to confer. However, given the deficiencies in Defendants’ Motion discussed

  below and in the interest of avoiding further unwarranted expenditure of judicial and party

  resources, I find it entirely appropriate to require a certified good faith renewed conferral on fees

  and costs as contemplated under the Local Rules. I am hopeful that such conferral will either

  eliminate or greatly narrow any disputes on the matter of fees and costs.

         B.      Material Deficiencies

         Importantly, as the moving party, Defendants bear the burden of establishing that claimed

  hourly rate and hours expended are reasonable. See Norman v. Housing Auth. of the City of

  Montgomery, 836 F.2d 1292, 1303 (11th Cir. 1988). To satisfy this burden, Defendants must

  provide the Court with sufficiently detailed records so that the Court can assess the time claimed

  for each activity. Id. at 1303; see also Hermosilla v. Coca-Cola Co., No. 10-21418-CIV, 2011

  WL 9364952, at *14 (S.D. Fla. July 15, 2011) (“A party seeking to recover attorneys’ fees bears

  the burden of providing specific and detailed evidence so that a determination can be made of the

  necessity of the action and the reasonableness of the time claimed for the action.”) (citing A.C.L.U.,

  168 F.3d at 427, 432-33). In addition, “the matter is quite settled in this district that a moving

  party must provide supporting documentation to justify a cost award of any kind.”                 See

  Architectural Ingenieria Siglo XXI, LLC v. Dominican Republic, No. 13-20544-Civ-


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  Moore/McAliley, 2020 WL 6808856 at *9 (S.D. Fla. Apr. 16, 2020), report adopted, 2020 WL

  5757493 (S.D. Fla. Sept. 28, 2020). Defendants’ submissions fall woefully short of satisfying

  these requirements.

          Hardly a model of clarity, the Motion is deficient in several material respects. I will

  identify three. 3 First, in seeking $40,595.00 in attorneys’ fees for work performed by Atlas Law,

  a footnote states generally that “fees for appellate work have been subtracted from the final

  attorneys’ fee amount, but the appellate work remains listed on the attached Exhibit ‘A.’” DE 92

  at 2. Exhibit A is a “Client Ledger” that contains hundreds of line-item explanations but there is

  no summary of total fees expended for trial work versus appellate work. No further explanation

  or calculations are provided. In addition, while Defendants set forth the number of hours expended

  by the two Atlas Law attorneys, the attached Client Ledger does not identify which of the two

  attorneys completed each listed task making it impossible for me to review or otherwise reconcile

  the claimed amounts and hours.

          Second, in separately seeking $68,980.00 in attorneys’ fees for work performed by Jaffe

  Law, Defendants identify by name three attorneys and two paralegals who purportedly worked on

  this case for a combined total of 169.4 hours. Defendants do not specify how many hours each of

  these five timekeepers expended and instead refer to 7 pages of billing invoices attached as Exhibit

  B. DE 92-2. Unlike the Atlas Law client ledger, the Jaffe Law billing invoices identify which

  timekeeper completed each task but Defendants have not provided a chart or other summary setting




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    I reviewed Defendants’ amended motion for attorneys’ fees and costs, filed prior to the appeal, for possible
  clarification or additional support for Defendants’ claimed amounts of fees and expenses. DE 48. However, the
  Amended Motion contains the same deficiencies outlined in this Order. Defendants filed a reply in support of
  the amended motion following the appeal, however the reply provides no pertinent clarification or support either.
  DE 61.

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  forth “the number of hours reasonably expended by each such timekeeper.” S.D. Fla. L.R.

  7.3(a)(5)(B).

         Third, in seeking costs, Defendants claim that “Jaffe [Law] experienced $669.08 in costs

  which is further documented in the time keeping records attached hereto.” DE 92 at 4. Jaffe Law

  attorney James Parks’ affidavit generically states that “[e]ach item and costs are correct and was

  necessarily incurred in this matter.” DE 93-1, Jaffe Aff. ¶ 12. No further detail about costs is

  provided in the Motion or affidavit. Upon review of Jaffe Law’s attached billing invoices, costs

  are not readily discernable or supported. Defendants’ submissions thus do not satisfy the basic

  requirement of clearly providing itemized costs and corresponding invoices showing the amount

  of costs incurred. See Architectural Ingenieria, 2020 WL 6808856 at *9.

         Among other arguments raised in opposing the Motion, Plaintiffs point out the above

  deficiencies in their response. Rather than file a reply to address Plaintiffs’ points or to otherwise

  clarify matters, Defendants opted to remain silent.

          Despite this surprisingly nonchalant approach taken by Defendants, given the finding of

  entitlement and in the interest of bringing closure to this post-judgment matter of attorneys’ fees

  and costs, I will grant Defendants limited leave to file a supplemental notice with materials in

  support of their Motion.

         Based on the foregoing, it is hereby ORDERED AND ADJUGED as follows:

         1. Counsel for the parties shall forthwith engage in a good faith conferral on the matter of

             attorneys’ fees and costs. Following this conferral, by Friday, August 12, 2022,

             Defendants shall file a notice certifying that a good faith effort to resolve this matter

             by agreement occurred, stating the nature of the conferral, and describing what was and




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              was not resolved by agreement. To the extent the parties are able to resolve this matter

              entirely, an appropriate notice of withdrawal shall be filed.

           2. To the extent the parties are unable to reach a resolution, by Friday, August 19, 2022,

              Defendants shall file a Supplemental Notice containing (1) a chart or summary that

              conveys, with specificity, the precise number of hours expended by each timekeeper

              with pinpoint citation to invoice(s) or other materials on file that support those hours

              expended; (2) a chart or other clear summary of fees relating to trial versus appellate

              work performed by the timekeepers with corresponding pinpoint citations to the record;

              and (3) a summary that conveys, with specificity, the categories of costs, with specific

              reference to the invoice(s) that support those claimed costs.

           3. Defendants may not supplement their request for attorneys’ fees and costs with

              additional argument. Rather, leave is granted for Defendants to simply file missing

              invoices and to clarify, by adding more factual detail, their claimed fees and costs.

           4. I caution that failure to comply with this Order’s requirements may result in a

              recommendation that the Motion be summarily denied or the requested amounts

              substantially reduced based on the incomplete and imprecise nature of the current

              Motion.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 4th day of August,

   2022.



                                                 _______________________________
                                                 SHANIEK M. MAYNARD
                                                 U.S. MAGISTRATE JUDGE




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